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5    Facsimile: (866) 633-0228
6    Attorneys for Plaintiff
7
                         UNITED STATES DISTRICT COURT
8                       CENTRAL DISTRICT OF CALIFORNIA
9
     DAVID VACCARO, individually and )                  Case No.
10   on behalf of all others similarly situated, )
                                                 )       2:19-cv-10363-AB-E
11
     Plaintiff,                                  )
12
                                                 )      JOINT STIPULATION OF
13   v.                                          )      DISMISSAL OF ACTION OF THE
                                                 )      INDIVIDUAL CLAIMS
14
     NEXTDOOR.COM, INC.,                         )      WITH PREJUDICE AND THE
15                                               )      PUTATIVE CLASS CLAIMS
     Defendant.                                  )      WITHOUT PREJUDICE
16
                                                 )
17                                               )
18

19
     NOW COME THE PARTIES by and through their attorneys to respectfully move

20
     this Honorable Court to dismiss this matter with prejudice as to Plaintiff’s
21   individual claims and without prejudice as to the putative Class pursuant to
22   Federal Rules of Civil Procedure 41(a)(1)(A)(ii). Each party shall bear their own
23   costs and attorney fees. A proposed order has been concurrently submitted to
24   this Court via email.
25
     ///
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27   ///
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                                         Stipulation to Dismiss- 1
     Case 2:19-cv-10363-TJH-E Document 18 Filed 07/13/20 Page 2 of 3 Page ID #:66




1         Respectfully submitted this 13th Day of July, 2020,
2
                                 LAW OFFICES OF TODD M. FRIEDMAN P.C
3                                      By: s/Adrian R. Bacon
4                                         ADRIAN R. BACON Esq.
                                           Attorney for Plaintiff
5

6                                             By:
                                               /s/ Thomas F. Landers
7
                                                   Thomas F. Landers
                                      Solomon Ward Seidenwurm & Smith LLP
8                                              Attorney for Defendant
9

10
                                   Signature Certification
11
           Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative
12
     Policies and Procedures Manual, I hereby certify that the content of this
13

14
     document is acceptable to counsel for Defendant and that I have obtained their

15
     authorization to affix their electronic signature to this document.

16
     Dated: July 13, 2020 LAW OFFICES OF TODD M. FRIEDMAN, P.C.
17

18                                 By: _s/ Adrian R. Bacon
19                                     Adrian R. Bacon ESQ.
                                         Attorney for Plaintiff
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                                      Stipulation to Dismiss- 2
     Case 2:19-cv-10363-TJH-E Document 18 Filed 07/13/20 Page 3 of 3 Page ID #:67




1    Filed electronically on this 13th Day of July, 2020, with:
2
     Notification sent electronically via the Court’s ECF system to:
3

4    Honorable Judge of the Court
     United States District Court
5

6    All Counsel of Record as Recorded On The Electronic Service List.
7
     This 13th Day of July, 2020.
8
     s/Adrian R. Bacon
9    ADRIAN R. BACON
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                                      Stipulation to Dismiss- 3
